
88 N.Y.2d 1003 (1996)
Olga McGuirk, Respondent,
v.
Nadia Ferran, Also Known as Nadia Kannes, et al., Appellants.
Court of Appeals of the State of New York.
Submitted May 28, 1996.
Decided September 10, 1996.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division's December 28, 1995 order as affirmed Supreme Court's order releasing plaintiff's undertaking, dismissed upon the ground that that portion of the order does not finally determine the action within the meaning of the Constitution; motion, insofar as it seeks leave to appeal from the Appellate Division order denying defendants' motion for reargument or, in the alternative, leave to appeal to the Court of Appeals, dismissed upon the ground that that order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
